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      EXPERIAN INFORMATION
  8   SOLUTIONS, INC.
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11

 12   BRYCE ABBINK,                          Case No. 8:19-cv-01257-JFW-PJWx
 13                  Plaintiffs,             Hon. John F. Walter
 14         v.                               CERTIFICATE OF SERVICE
 15   EXPERIAN INFORMATION
 16
      SOLUTIONS, INC., et al.,               Complaint filed: June 21, 2019
 17
                     Defendants.

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                                                                  CERTIFICATE OF SERVICE
                                                             Case No. 8:19-cv-01257-JFW-PJWx
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  1                               CERTIFICATE OF SERVICE
  2         I, Angie Contreras, declare:
  3         I am a citizen of the United States and employed in Orange County,
  4   California. I am over the age of eighteen years and not a party to the within-entitled
  5   action. My business address is 3161 Michelson Drive, Suite 800, Irvine, California
  6   92612.4408. On July 16, 2019, I served a copy of the STIPULATION TO
  7   EXTEND TIME TO RESPOND TO INITIAL COMPLAINT AND TO
  8   EXTEND TIME TO FILE A MOTION FOR CLASS CERTIFICATION;
  9   DECLARATION OF JACK WILLIAMS IV; [PROPOSED] ORDER by
 10   electronic transmission.
 11         I am familiar with the United States District Court for the Central District of
 12   California’s practice for collecting and processing electronic filings. Under that
 13   practice, documents are electronically filed with the court. The court’s CM/ECF
 14   system will generate a Notice of Electronic Filing (NEF) to the filing party, the
 15   assigned judge, and any registered users in the case. The NEF will constitute
 16   service of the document. Registration as a CM/ECF user constitutes consent to
 17   electronic service through the court’s transmission facilities. Under said practice,
 18   the following CM/ECF users were served:
 19
       Aaron D. Aftergood                           Taylor T. Smith
 20    THE AFTERGOOD LAW FIRM                       WOODROW & PELUSO, LLC
 21
       1880 Century Park East, Suite 200            3900 East Mexico Avenue, Suite 300
       Los Angeles, CA 90067                        Denver, CO 80210
 22    Tel: 310-551-5221                            Tel: 720-213-0675
 23    Fax: 310-496-2840                            Fax: 303-927-0809
       Email: aaron@aftergoodesq.com                Email: tsmith@woodrowpeluso.com
 24

 25
       Attorneys for Plaintiffs                     Attorneys for Plaintiffs
 26

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 28                                                                       CERTIFICATE OF SERVICE
                                                                     Case No. 8:19-cv-01257-JFW-PJWx
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  1         Executed on July 16, 2019, at Irvine, California.
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  3                                         /s/ Angie Contreras
                                            Angie Contreras
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 28                                                                    CERTIFICATE OF SERVICE
                                                                  Case No. 8:19-cv-01257-JFW-PJWx
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